                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:11-cr-37
v.                                                    )
                                                      )       MATTICE / LEE
                                                      )
KATHLEEN MATHEWS                                      )


                             REPORT AND RECOMMENDATION



       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on September 21,

2011. At the hearing, defendant moved to withdraw her not guilty plea to Counts One, Two, Three

and Eight of the fourteen-count Indictment and entered a plea of guilty to Counts One, Two, Three

and Eight of the Indictment, in exchange for the undertakings made by the government in the written

plea agreement. On the basis of the record made at the hearing, I find the defendant is fully capable

and competent to enter an informed plea; the plea is made knowingly and with full understanding

of each of the rights waived by defendant; the plea is made voluntarily and free from any force,

threats, or promises, apart from the promises in the plea agreement; the defendant understands the

nature of the charge and penalties provided by law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw her not guilty plea to Counts

One, Two, Three and Eight of the Indictment be granted, her plea of guilty to Counts One, Two,

Three and Eight of the Indictment be accepted, the Court adjudicate defendant guilty of the charges

set forth in Counts One, Two, Three and Eight of the Indictment, and a decision on whether to

accept the plea agreement be deferred until sentencing. I further RECOMMEND defendant remain



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in custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance

of the plea agreement, and imposition of sentence are specifically reserved for the district judge.


                                               s/fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




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